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Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON
                                     PORTLAND DIVISION


  CESAR FERNANDEZ,
                                                      Case No. 3:18-cv-00141-HZ
                                 Plaintiff,

          v.
                                                      STIPULATED NOTICE OF DISMISSAL
                                                      WITH PREJUDICE AND WITHOUT COSTS
  APOLLO MECHANICAL                                   OR FEES
  CONTRACTORS, INC.,

                                 Defendant.



       Pursuant to FRCP 41(a)(1), Plaintiff and Defendant, by and through their counsel of

record, hereby stipulate that this action and all claims and counterclaims herein shall be

dismissed with prejudice and without attorney fees or costs to any party.

Baker Law PC                                          Lewis Brisbois Bisgaard & Smith LLP


/s/ Aaron W. Baker                                    /s/ Sharon C. Peters                                 _
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